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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

DWAINE COLEMAN,                               )
                                              )
       Plaintiff,                             )
                                              )       Civil No. 3:15-cv-00898-SMY-RJD
vs.                                           )
                                              )
LT. VINSON, et al.,                           )
                                              )
       Defendants.                            )

                         PLAINTIFF’S PRETRIAL DISCLOSURES

       COMES NOW Plaintiff Dwaine Coleman (“Plaintiff”), by and through his undersigned

counsel, and for his Pretrial Disclosures pursuant to Federal Rule of Civil Procedure 26(a)(3),

states as follows:

(i)    Plaintiff expects to call the following witnesses pursuant to Rule 26(a)(3)(A)(i):

       1.      Plaintiff Dwaine Coleman
               3505 Denver Street
               Memphis, TN 38127

(ii)   Plaintiff may call the following witnesses if the need arises pursuant to Rule 26(a)(3)(A)(i):

       1.      Defendant Lieutenant James Vinson

       2.      Defendant Lieutenant David Mitchell

       3.      Defendant Correctional Officer Jared Blessing

       4.      Warden Love (assistant warden at VCC)

       5.      Warden Hilliard (former Warden)

       6.      Major Campbell (Shift Commander at VCC)

       7.      Matthew Swalls

       8.      Dylan Luce

       9.      Penny George
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    10.   Darren Harner

    11.   Travis Wentworth

    12.   Jessica Powers

    13.   Medical Director of Vienna Correctional Center

    14.   Julia Rodriguez

    15.   Stephanie DeMattia

    16.   Sergeant Vick, ID # 11909

    17.   Officer Anderson, ID #13626

    18.   Lieutenant Oehlsen, ID #6335

    19.   Major J. Hurst, ID #752

    20.   Officer M. Stevens, ID #13626

    21.   Tracy Smith

    22.   Lieutenant S. Harrison, ID #6284

    23.   Lieutenant Vaughn

    24.   Officer McCraw, ID #13178

    25.   Carol Fairless, RN

    26.   Officer Trovillion, ID #10874

    27.   Officer Steward, ID #11887

    28.   Sergeant Meyers

    29.   Officer Reid, ID #4587

    30.   Harold Buchmeier

    31.   Major Campbell

    32.   Doctor Santos, M.D.



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        33.    L. Kluge, RN

        34.    Pamela Franklin, RN

        35.    Nurse Stanford, RN

        36.    Nurse Fairless, RN

        37.    Doctor Powers, M.D.

        38.    T. Stevens, RN

        39.    K. Murphy, RN

        40.    Doctor Larsen, M.D.

        Plaintiff reserves the right to call any witnesses identified by Defendants pursuant to
        Federal Rule of Civil Procedure 26(a)(3) in his case in chief if the need arises.

(iii)   Plaintiff may offer deposition testimony from the following as evidence pursuant to Rule
        26(a)(3)(A)(ii):

        1.     Plaintiff Dwaine Coleman

(iv)    Plaintiff expects to offer the following documents as evidence, pursuant to
        Rule 26(a)(3)(A)(iii):

        1.     All medical and mental health records relating to the incidents in Plaintiff’s Second
               Amended Complaint.

        2.     All grievances submitted by Plaintiff relating to the incidents in Plaintiff’s Second
               Amended Complaint.

        3.     All Administrative Review Board documents relating to the incidents in Plaintiff’s
               Second Amended Complaint.

        4.     All incident reports relating to the incidents in Plaintiff’s Second Amended
               Complaint.

        5.     All investigative interview documents relating to the incidents in Plaintiff’s Second
               Amended Complaint.

        6.     All investigation reports relating to the incidents in Plaintiff’s Second Amended
               Complaint.

        7.     All disciplinary reports relating to the incidents in Plaintiff’s Second Amended
               Complaint.

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       8.      All Adjustment Committee summary reports relating to the incidents in Plaintiff’s
               Second Amended Complaint.

       9.      All IDOC documents related to Plaintiff’s transfer to Pontiac Correctional Center.

       10.     Documents attached to Defendants’ Motion for Summary Judgment.

       11.     All documents contained in Plaintiff’s master file relating to the incidents in
               Plaintiff’s Second Amended Complaint.

       12.     All documents related to relevant portions of the IDOC Administrative Code.

       13.     All IDOC counseling summaries relating to the incidents in Plaintiff’s Second
               Amended Complaint.

       14.     All documents exchanged between the parties relating to the incidents in Plaintiff’s
               Second Amended Complaint.

(v)    Plaintiff expects to introduce the following documents as evidence if the need arises
       pursuant to Rule 26(a)(3)(A)(iii):

       1.      Defendants’ discovery responses.

       2.      Plaintiff reserves the right to introduce any documents identified by Defendants
               pursuant to Federal Rule of Civil Procedure 26(a)(3) in his case in chief if the need
               arises.

Dated: August 30, 2018                       Respectfully submitted,
                                             LEWIS RICE LLC
                                             By: /s/ Michael J. Hickey
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                                                  Attorneys for Plaintiff Dwaine Coleman

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 30th day of August, 2018, a true and correct
copy of the foregoing will be delivered to counsel of record via this Court’s CM/ECF electronic
filing service.
                                                       /s/ Michael J. Hickey
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